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                      UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS


KPM ANALYTICS NORTH AMERICA
CORPORATION,
                Plaintiff,

       v.                                                 21-CV-10572-MRG

BLUE SUN SCIENTIFIC, LLC, THE
INNOVATIVE TECHNOLOGIES GROUP &
CO., LTD., ARNOLD EILERT,
ROBERT GAJEWSKI, RACHAEL
GLENISTER, and IRVIN LUCAS,


                 Defendants.


                FINAL JUDGMENT AND PERMANENT INJUNCTION

       This action came before the Court for a jury trial and the

issues have been tried. The jury has rendered its verdict [ECF No.

230], and the Court has issued detailed post-trial opinions [ECF

No. 297]; [ECF No. 315] regarding, among other things : (i)

Plaintiff’s motion for a finding on its Chapter 93A claim, (ii)

Plaintiff’s motion for a finding of willful and malicious conduct,

(iii) Plaintiff’s motion for attorneys’ fees and costs, (iv)

Plaintiff’s motion for a permanent injunction, and (v) Defendants’

motions to alter or amend the judgment, or in the alternative, for

remittitur. It is hereby ORDERED, ADJUDGED, and DECREED that:

       1.   On Counts I and II of the Complaint, Defendants Blue Sun

Scientific, LLC, Irvin Lucas, Robert Gajewski, Rachael Glenister,

and    Arnold   Eilert   misappropriated      Plaintiff’s      trade   secrets
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willfully and maliciously and judgment is hereby entered in favor

of Plaintiff on Counts I and II of the Complaint against Defendants

Blue Sun Scientific, LLC, Irvin Lucas, Robert Gajewski, Rachael

Glenister, and Arnold Eilert by reason of the jury’s May 17, 2023

verdict, including exemplary damages assessed against Defendants,

Irvin Lucas and Robert Gajewski, in an amount equal to 50% the

compensatory damages awarded against each of them pursuant to 18

U.S.C., § 1836(b)(3)(C) and Mass. Gen. L. ch. 93, § 42B(b);

     2.   On Count III of the Complaint, Defendants Irvin Lucas,

Robert Gajewski, Rachael Glenister, and Arnold Eilert breached

their contracts with Plaintiff, and, in addition to damages,

Plaintiff is entitled to an award of attorneys’ fees and costs (as

described below) pursuant to the fee shifting provisions of the

contracts. Judgment is hereby entered in favor of Plaintiff on

Count III of the Complaint against Defendants Irvin Lucas, Robert

Gajewski, Rachael Glenister, and Arnold Eilert by reason of the

jury’s May 17, 2023 verdict;

     3.   On Count IV of the Complaint, Defendants Irvin Lucas,

Robert Gajewski, Rachael Glenister, and Arnold Eilert violated the

covenant of good faith and fair dealing implied in their contracts

with Plaintiff and judgment is hereby entered in favor of Plaintiff

on Count IV of the Complaint against Defendants Irvin Lucas, Robert

Gajewski, Rachael Glenister, and Arnold Eilert by reason of the

jury’s May 17, 2023 verdict;

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     4.    On Count V of the Complaint, judgment is hereby entered

on behalf of Defendants Irvin Lucas, Robert Gajewski, Rachael

Glenister, and Arnold Eilert by reason of the jury’s May 17, 2023,

verdict;

     5.    Count VI of the Complaint against Defendants Rachael

Glenister and Irvin Lucas was dismissed pursuant to Fed. R. Civ.

P. 12(b)(6);

     6.    On Count VIII of the Complaint, Defendants Blue Sun

Scientific, LLC, and the Innovative Technologies Group & Co., Ltd.,

tortiously interfered with Plaintiff’s contractual relations and

judgment is hereby entered in favor of Plaintiff on Count VIII

against Defendants Blue Sun Scientific, LLC and The Innovative

Technologies Group & Co., Ltd. by reason of the jury’s May 17,

2023 verdict;

     7.    Count VIII of the Complaint against Defendant Arnold

Eilert was dismissed pursuant to Fed. R. Civ. P. 12(b)(6) and

dismissed against the Defendants, Blue Sun Scientific, LLC, The

Innovative Technology Group & Co., Ltd., Robert Gajewski, Rachael

Glenister, and Irvin Lucas, voluntarily, as stated on the record

at Trial Transcript Day 9, 112:11-13;

     8.    Count IX of the Complaint against Defendants Blue Sun

Scientific, LLC, The Innovative Technology Group & Co., Ltd.,

Robert Gajewski, Arnold Eilert, Rachael Glenister, and Irvin Lucas

was dismissed pursuant to Fed. R. Civ. P. 12(b)(6);

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     9.     On Count X, Defendants Blue Sun Scientific, LLC and The

Innovative Technologies Group & Co., Ltd. engaged in knowing or

willful violation of Mass. Gen. L. ch. 93A and judgment is hereby

entered in favor of Plaintiff on Count X of the Complaint against

Defendants      Blue   Sun    Scientific,     LLC    and        The    Innovative

Technologies Group & Co., Ltd., including an award of double

damages and attorneys’ fees;

     10.    Judgment is hereby entered in favor of Plaintiff on all

counts of the Counterclaims by reason of the jury’s May 17, 2023

verdict;

     11.    The Court awards monetary damages to Plaintiff in a total

amount     of   $6,665,000.00,     allocated     against         the   following

defendants in the following amounts:

          a. $3,000,000.00 jointly and severally against Blue Sun

Scientific, LLC and The Innovative Technologies Group & Co., Ltd.;

          b. $3,600,000.00 severally against Defendant The Innovative

Technologies Group & Co., Ltd.;

          c. $30,000.00 severally against Defendant Irvin Lucas;

          d. $22,500.00 severally against Defendant Robert Gajewski;

          e. $10,000.00      severally    against       Defendant         Rachael

Glenister; and,

          f. $2,500.00 severally against Defendant Arnold Eilert.

     12.    For the reasons explained in its detailed opinion [ECF

No. 315] on KPM’s motion for attorneys’ fees and costs, the Court

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awards Reasonable Attorneys’ Fees and Reasonable Costs against the

following Defendants in the following amounts:




     These amounts shall be assessed jointly and severally against

Defendants Blue Sun Scientific, LLC, The Innovative Technologies

Group & Co., Ltd., Irvin Lucas, Robert Gajewski, Rachael Glenister,

and Arnold Eilert;

     13.   The Court awards prejudgment interest at the rate of 12%

per annum 1 on the following compensatory damages 2 figures:



1 Mass. Gen. Laws ch. 231, § 611 ("In any action in which damages
are awarded, but in which interest on said damages is not
otherwise provided by law, there shall be added by the clerk of
court to the amount of damages interest thereon at the rate [of
twelve percent per annum] to be determined from the date of
commencement of the action even though such interest brings the
amount of the verdict or finding beyond the maximum liability
imposed by law.") Here, the action commenced on April 5, 2021.
[ECF No. 1].

2 This decision is in accordance with this Court’s prior ruling
that it would only award KPM prejudgment interest on
“any elements of the jury award(s) that can fairly be classified
as ‘compensatory in nature’." [ECF 297 at 8 (citing
Governo Law Firm LLC v. Bergeron, 166 N.E.3d 416, 428 (Mass.
2021) ("[p]rejudgment interest applies to awards of compensatory
damages because both prejudgment interest and compensatory
damages seek to make a plaintiff whole")].

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     Accordingly,     the    Court   awards   KPM   prejudgment       interest,

allocated   against   the     following   Defendants      in    the   following

amounts:

       a. $692,383.56 jointly and severally against Blue Sun

       Scientific, LLC and The Innovative Technologies Group &

       Co., Ltd.;

       b. $830,860.27 severally against Defendant The Innovative

       Technologies Group & Co., Ltd.;

       c. $9,231.78 severally against Defendant Irvin Lucas;

       d. $6,923.83 severally against Defendant Robert Gajewski;

       e. $4,615.89 severally against Defendant Rachael Glenister;

       and,

       f. $1,153.97 severally against Defendant Arnold Eilert.

     14.    The   Court     grants   KPM’s    request    for    post-judgment

interest at a rate of 3.91%, pursuant to 28 U.S.C. § 1961(a).

Permanent Injunction

     15.    For the reasons explained at length in the Court’s

written opinion [ECF No. 297 at 49-53] on KPM’s motion for a




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permanent injunction, the Court hereby ORDERS entry of a permanent

injunction as follows:

          a. Defendants and their agents, officers, employees and

anyone acting on their behalf are prohibited from using, divulging,

disclosing, furnishing, or making available for their own benefit

or anyone else’s benefit any of the Plaintiff’s “Confidential

Information” and trade secrets.              Confidential Information shall

include    Plaintiff’s    confidential        and   non-public      information;

documents and data concerning research and development activities;

data sets and calibration data; application notes; source code;

all    copies    of   UCAL,      USCAN   or     other    software;     technical

specifications;       show-how    and    know-how;      marketing     plans      and

strategies;     pricing   and    costing     policies;    customer    lists      and

information, and accounts and nonpublic financial information.

          b. If they have not already done so, Defendants must account

for and return any and all information and materials they are in

possession of and which belong to the Plaintiff, including any and

all Confidential Information and trade secrets.                   This includes,

but is not limited to, any and all USB or other computer drives

and any copies of the contents thereof containing KPM Confidential

Information in the possession of Robert Gajewski, or any other

Defendant, and any and all KPM/Unity Near Infra-Red instruments,

materials, equipment, supplies, components, parts, calibrations,

electronic files, or physical files in the possession of Arnold

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Eilert;

          c. Defendants     Arnold    Eilert,       Robert    Gajewski,      Rachael

Glenister, and Irvin Lucas are required to comply with all of the

terms   of   their    non-disclosure           agreements    with    KPM    and     are

prohibited from using, for their own and anyone else’s benefit, or

disclosing to anyone, any of KPM’s trade secrets and Confidential

Information.

          d. For a period of ten (10) years from the date of the

issuance of this Permanent Injunction, Defendants are prohibited

from offering to provide or providing or offering to sell or

selling to any party any services or products, including but not

limited to any maintenance, hardware, software or data, related to

any Near Infra-Red analyzer manufactured or sold by KPM or its

predecessors in interest, including but not limited to analyzers

manufactured    or   sold    by    Unity       Scientific    or   Process    Sensors

Corporation.

          e. For a period of ten (10) years from the date of the

issuance of this Permanent Injunction, Defendants are prohibited

from offering to sell or selling any Near-Infrared analyzer product

to the customers listed on the attached Exhibit A, filed under

seal herewith.       Exhibit A to this Final Judgment and Permanent

Injunction will remain under seal until such time as this Court

lifts the seal.      Nevertheless, Exhibit A will be made available to




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the parties and to any person or entity bound by this Paragraph 16

of the Final Judgment and Permanent Injunction.

     16.    For   purposes       of   this     Permanent          Injunction,   if   a

customer-organization          includes     multiple    individual        divisions,

sites, or locations that make independent buying decisions, each

division,    site,   or   location     is     deemed    a    separate    party.      A

division, site, or location makes independent buying decisions if

the division, site, or location has the authority to determine

which near-infrared analyzer to purchase without input from other

divisions,    sites,      or    locations      within       the     organization.    A

division, site, or location does not make independent buying

decisions if the division, site, or location was referred to the

Defendants by a person to whom the Defendants previously sold or

offered to sell services or products related to any Near Infra-

Red analyzer manufactured or sold by KPM or its predecessors in

interest.

     17.    If any party believes that a violation of this Permanent

Injunction has occurred, they must first meet and confer with other

interested parties to see if the issue can be resolved without

involvement of the Court.         If not, the parties may jointly request

that the Clerk schedule a Status Conference as soon as practicable.

     18.    The Permanent Injunction appearing at paragraph 15 of

this Order is permanent and shall continue to be effective until




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such time as this Court issues a subsequent order revising or

ending the above ORDER.

     19.   The Court hereby ORDERS that the bond posted by Plaintiff

in the amount of $70,000.00 shall be released by the Clerk of

Courts.

     So ORDERED:                                   Dated:

     /s/ Margaret R. Guzman                  February 7, 2025
     Hon. Margaret Guzman,
     United States District Judge




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